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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA

LASHAWN JONES, ET AL                                        CIVIL ACTION NO. 12-859

VERSUS                                                      SECTION I, DIVISION 1

MARLIN GUSMAN, ET AL                                        JUDGE LANCE M. AFRICK
                                                            MAGISTRATE JUDGE NORTH

                                      STATUS REPORT

        The City of New Orleans (the “City), hereby submits a Status Report on the progress of

the Temporary Detention Center (TDC) renovation and Phase III facility, in response to the Court’s

Order of March 18, 2019 (R.Doc.1227).

        Work continues on buildings 1 and 2 of TDC. The projected construction completion date

remains eight (8) months from the issuance of the notice of proceed.

        On January 8, 2020, a final Design Development (DD) meeting was held with Director

Darnley Hodge, Sheriff Marlin Gusman, and Wellpath staff to review design requirements, and

Security Electronics and Equipment planning regarding Phase III. The City awaits final DD

documents, (Architectural, Civil, MEP and Structural, Sec. Electronics and building system

narratives) from Grace Hebert Architects. The projected completion date for Phase III is Summer

2022.

                                                    Respectfully submitted,


                                                    /s/ Sunni J. LeBeouf_______________
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                                                     Counsel for the City of New Orleans


                                CERTIFICATE OF SERVICE

       I certify that on January 17, 2020, a copy of the foregoing has been served upon all parties

to this proceeding by CM/ECF notification.


                                                     /s/ Sunni J. LeBeouf_________________
                                                     SUNNI J. LEBEOUF
